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                    UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                            TALLAHASSEE DIVISION




PATRICK BURKE and CYNTHIA
BURKE, individually and as husband
and wife,

                     Plaintiffs,

v.                                                                    4:05cv148-WS

LARRY CAMPBELL, Sheriff in and
for Leon County, Florida,

                     Defendant.



                                   ORDER OF DISMISSAL

       The court having been advised that this matter has been compromised and

settled between the parties, it is ORDERED:

       1. This cause is hereby DISMISSED WITH PREJUDICE AND WITHOUT

TAXATION OF COSTS.

       2. The clerk shall enter judgment accordingly.

       3. In the event settlement is not consummated for any reason, the court

reserves the power, upon motion filed by any party, within thirty (30) days after

the date hereof, to amend, alter, or vacate and set aside this order of dismissal.
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       DONE AND ORDERED this May 12, 2005.




                             /s William Stafford
                             WILLIAM STAFFORD
                             SENIOR UNITED STATES DISTRICT JUDGE




Case No. 4:05cv148-WS
